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                           EXHIBIT A
Free Software Foundation (FSF) Cease-and-Desist Letter to Neo4j, Inc.

                     Dated: November 13, 2023
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                                                                      November 13, 2023

Neo4j, Inc.
400 Concar Dr.
San Mateo, CA 94402, USA
Attention: Legal Department




Re:    Neo4J Cease and Desist


We have learned of your continued use of the Free Software Foundation's ("FSF") rights
related to the GNU Affero General Public License version 3 ("GNU AGPLv3") in a confusing
and unauthorized manner. The FSF holds the copyright to the GNU AGPLv3, including all
rights to make derivative works, as well as trademark rights to "GNU AFFERO GENERAL
PUBLIC LICENSE" and related marks used in it, including:

* FSF (USPTO 87909272, EUIPO 003119691);
* Free Software Foundation (USPTO 87909237, EUIPO 003120334);
* GNU (USPTO 85380218)

While we are pleased when people use the GNU AGPLv3 to distribute and license software,
we want to ensure that software freedom is protected as intended. The FSF allows everyone to
use its licenses to grant and protect the fundamental freedoms to use programs for any purpose,
study and change them, and sell or give away copies of programs or their modified versions.
However, the FSF does not allow the making or distributing of altered versions of the licenses,
including the GNU AGPLv3, resulting in unauthorized derivative works. Nor do we allow
others to use our registered or common law trademarks without authorization.

We are referring to the README file[1] distributed by Neo4j releases 3.4.0-3.5.3. Among
other issues, it clearly states in the "Extending" section that the software is available under the
GNU AGPLv3. However, you then inappropriately use our marks in the "Licensing" section,
where it states that some of the modules of Neo4j Enterprise are "licensed under AGPLv3 with
the Commons Clause." You are not authorized to use any of our marks including "GNU,"
"AGPL," and "Affero General Public License," or any other variation of those marks in
connection with any licenses other than to refer to the unmodified licenses as published by us.
You are also not permitted to make unauthorized derivative works of the GNU AGPLv3 by
adding additional text to the license as was done in LICENSE.txt accompanying
aforementioned releases.

Your distribution of these releases has caused and continues to cause confusion among
consumers since the README distributed by you clearly states that each of these releases is



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                                                tel: 1.617.542.5942 | fax: 1.617.542.2652 | www.fsf.org
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"licensed under the [GNU] AGPLv3," but confusingly suggests that the Commons Clause
would restrict a licensee's rights under our license.

The GNU AGPLv3 by its terms, including as reproduced by you in the LICENSE.txt, permits
all licensees to remove any additional terms that are "further restrictions" under the GNU
AGPLv3. The text of the GNU AGPLv3 makes this clear as it says, "[i]f the Program as you
received it, or any part of it, contains a notice stating that it is governed by this License along
with a term that is a further restriction, you may remove that term[,]" and the GNU AGPLv3
clearly defines the phrase "this License" to mean "version 3 of the GNU Affero General Public
License." It is well known that the "Commons Clause" is a "further restriction" under the terms
of the GNU AGPLv3 and therefore all licensees under the GNU AGPLv3 are permitted to
remove it[2].

We encourage you to clarify the situation by making it unambiguous that these software
releases are licensed under the GNU AGPLv3 and users who already received copies of the
software are allowed to remove any further restriction. You can do this by simply stating that
the releases are licensed under the GNU AGPLv3 without any further restrictions and
removing all references to the "Commons Clause."

However, if your altered version of the license is an attempt to create a proprietary license, you
are not allowed to use any of the FSF's family of GNU General Public Licenses or any of the
FSF's trademarks, registered or unregistered, for that purpose. The FSF has no wish to advise
or request drafting a new proprietary software license, but we realize that we cannot forbid you
from doing so. Thus, we believe that in such case it is our duty to minimize the harm resulting
from confusing users with attempts to release proprietary software under a license using the
name, text, and trademarks associated with free software.

The conditions on which we authorize the creation of derivative works of our licenses are
stated in our FAQ[3]. Our FAQ clearly outlines the steps required, including removing specific
sections of the license text and removing any references to our marks. These conditions avoid
confusing uses of the GNU AGPLv3 and the FSF's trademarks included in it.

We hope to cooperate to resolve this matter amicably. Neo4j software mentioned above is
publicly available on Github as of this writing and also advertised by Neo4j, Inc. [4][5] (the
latter not mentioning 3.4 release). If Neo4j, Inc. is currently making any other unauthorized use
of any of FSF's copyrights or trademark rights related to the GNU AGPLv3, the above requests
apply to such other copies and uses as well. Please confirm in writing within 14 days from the
receipt of this letter that you have taken steps to remedy this situation.

Sincerely,



Zoë Kooyman,
Executive Director
Free Software Supporter


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[1] README.asciidoc available at
https://github.com/neo4j/neo4j/tree/3.4#readme and related tagged releases

[2] "Can I modify the GPL and make a modified license?" available at
https://www.gnu.org/licenses/gpl-faq.html#ModifyGPL

[3] "I'd like to license my code under the GPL, but I'd also like to make it clear that it can't be
used for military and/or commercial uses. Can I do this?" available at
https://www.gnu.org/licenses/gpl-faq.html#NoMilitary

[4] "Neo4j Debian Packages" available at https://debian.neo4j.com/

[5] "Neo4j RPM Packages" available at https://yum.neo4j.com/




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